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                    UNITED STATES COURT OF APPEALS                       FILED
                           FOR THE NINTH CIRCUIT                          NOV 21 2018
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
CONSTANCE GEORGE,                               No.     18-35551

                Plaintiff-Appellant,            D.C. No. 3:15-cv-01277-SB
                                                District of Oregon,
 v.                                             Portland

HOUSE OF HOPE RECOVERY and                      ORDER
PATRICIA BARCROFT,

                Defendants-Appellees.

Before: Peter L. Shaw, Appellate Commissioner.

      The motion to proceed in forma pauperis (Docket Entry No. 3) is granted.

The Clerk shall amend the docket to reflect this status.

      Upon review of the record, this court has determined that the appointment of

pro bono counsel in this appeal would benefit the court’s review. The motion for

appointment of counsel (Docket Entry No. 3) is granted. The court by this order

expresses no opinion as to the merits of this appeal.

      The Clerk shall enter an order appointing pro bono counsel to represent

appellant for purposes of this appeal only, and establishing a revised briefing

schedule. The appeal is stayed pending further order of this court.
